                    Case 8-18-71748-ast                         Doc 1       Filed 03/16/18            Entered 03/16/18 21:27:52


Fill in this information to identify the case:

United States Bankruptcy Court for the:
Eastern District of New York
                                      (State)

Case number (If known): _________________________ Chapter 11                                                                             Check if this is an
                                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                               04/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                              Orion Healthcorp, Inc.


2.   All other names debtor used
     in the last 8 years
     Include any assumed names, trade
     names, and doing business as names



3.   Debtor’s federal Employer
                                                XX-XXXXXXX
     Identification Number (EIN)


4.   Debtor’s address                           Principal place of business                                 Mailing address, if different from principal place
                                                                                                            of business


                                                100 Jericho Quadrangle, Suite 235                           1735 Route 35 North
                                                Number       Street                                         Number       Street




                                                                                                            P.O. Box



                                                Jericho                          NY               17753     Middletown                    NJ                07748
                                                City                             State         Zip Code     City                          State          Zip Code

                                                                                                            Location of principal assets, if different from
                                                                                                            principal place of business

                                                Nassau
                                                County
                                                                                                            Number       Street




                                                                                                            City                          State          Zip Code




5.   Debtor’s website (URL)                     www.orionhealthcorp.com


6.   Type of debtor                                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                       Partnership (excluding LLP)
                                                       Other. Specify:



                                                A. Check one:

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                                                                                                                                               EAST\152032199.2
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Debtor          Orion Healthcorp, Inc.                                                             Case number (if known)
                Name




7.    Describe debtor’s business
                                                     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                     Railroad (as defined in 11 U.S.C. § 101(44))
                                                     Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                     Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                     None of the above


                                                 B. Check all that apply:
                                                     Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                     Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                     Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                 C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                    http://www.uscourts.gov/four-digit-national-association-naics-codes.

                                                    5614


8.    Under which chapter of the                 Check one:
      Bankruptcy Code is the
      debtor filing?                                 Chapter 7
                                                     Chapter 9
                                                     Chapter 11. Check all that apply:
                                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                                        affiliates) are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every
                                                                        3 years after that).
                                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor
                                                                        is a small business debtor, attach the most recent balance sheet, statement of
                                                                        operations, cash-flow statement, and federal income tax return or if all of these
                                                                        documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                        A plan is being filed with this petition.
                                                                        Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                        in accordance with 11 U.S.C. § 1126(b).
                                                                        The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                        Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                        Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                        Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                        The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                        12b-2.
                                                     Chapter 12


9.    Were prior bankruptcy cases                    No
      filed by or against the debtor                 Yes.    District                         When                             Case number
      within the last 8 years?                                                                        MM / DD / YYYY
      If more than 2 cases, attach a separate                District                         When                             Case number
      list.
                                                                                                      MM / DD / YYYY


10.   Are any bankruptcy cases                       No
      pending or being filed by a                    Yes.    Debtor See Rider 1                                             Relationship
      business partner or an
      affiliate of the debtor?                               District                                                       When
                                                                                                                                           MM / DD / YYYY
      List all cases. If more than 1, attach a
      separate list.                                         Case number, if known




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                                                                                                                                                  EAST\152032199.2
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Debtor       Orion Healthcorp, Inc.                                                     Case number (if known)
             Name




11.   Why is the case filed in this   Check all that apply:
      district?                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.
                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or have         No     [See Rider 2]
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal
      property that needs                         Why does the property need immediate attention? (Check all that apply.)
      immediate attention?                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?
                                                      It needs to be physically secured or protected from the weather.
                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).
                                                      Other


                                                  Where is the property?
                                                                              Number         Street




                                                                              City                                  State              ZIP Code


                                                  Is the property insured?
                                                      No
                                                      Yes. Insurance agency

                                                              Contact name

                                                              Phone


          Statistical and administrative information


13.   Debtor’s estimation of          Check one:
      available funds                     Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.


14.   Estimated number of                 1-49                                       1,000-5,000                          25,001-50,000
      creditors                           50-99                                      5,001-10,000                         50,001-100,000
      (on a consolidated basis)           100-199                                    10,001-25,000                        More than 100,000
                                          200-999


15.   Estimated assets                    $0-$50,000                                 $1,000,001-$10 million               $500,000,001-$1 billion
      (on a consolidated basis)           $50,001-$100,000                           $10,000,001-$50 million              $1,000,000,001-$10 billion
                                          $100,001-$500,000                          $50,000,001-$100 million             $10,000,000,001-$50 billion
                                          $500,001-$1 million                        $100,000,001-$500 million            More than $50 billion




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 Debtor       Orion Healthcorp, Inc.                                                        Case number (if known)
              Name




16.   Estimated liabilities                     $0-$50,000                            $1,000,001-$10 million                     $500,000,001-$1 billion
      (on a consolidated basis)                 $50,001-$100,000                      $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                                $100,001-$500,000                     $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                                $500,001-$1 million                   $100,000,001-$500 million                  More than $50 billion



                     Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of              ■     The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
      authorized representative of              this petition.
      debtor
                                                ■     I have been authorized to file this petition on behalf of the debtor.

                                                ■    I have examined the information in this petition and have a reasonable belief that the information is
                                                true and correct.

                                         I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on 03/16/2018
                                                        MM / DD / YYYY


                                          /s/ Timothy J. Dragelin                                    Timothy J. Dragelin
                                               Signature of authorized representative of debtor       Printed name

                                         Title: Chief Restructuring Officer




18.   Signature of attorney                     /s/ Thomas R. Califano                               Date     03/16/2018
                                                Signature of attorney for debtor                               MM / DD / YYYY




                                         Thomas R. Califano
                                         Printed name

                                         DLA Piper LLP (US)
                                         Firm name

                                         1251 Avenue of the Americas
                                         Number Street

                                         New York                                                                           NY                 10020-1104
                                         City                                                                               State              ZIP Code

                                         (212) 335-4500                                                                     thomas.califano@dlapiper.com
                                         Contact phone                                                                      Email address

                                         2286144                                                                            NY
                                         Bar number                                                                         State




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
In re:                                                          : Chapter 11
                                                                :
ORION HEALTHCORP, INC.,                                         : Case No. 18-_____ (___)
                                                                :
                    Debtor.                                     :
--------------------------------------------------------------- x

                                                     Rider 1

                    Pending Bankruptcy Cases Filed by the Debtor and Its Affiliates

         On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a voluntary
petition in the United States Bankruptcy Court for the Eastern District of New York for relief under
chapter 11 of title 11 of the United States Code. The Debtors have moved for joint administration of their
cases with the lead case number assigned to the chapter 11 case of Orion Healthcorp, Inc.

    1.    Orion Healthcorp, Inc.
    2.    Constellation Healthcare Technologies, Inc.
    3.    NEMS Acquisition, LLC
    4.    Northeast Medical Solutions, LLC
    5.    NEMS West Virginia, LLC
    6.    Physicians Practice Plus Holdings, LLC
    7.    Physicians Practice Plus, LLC
    8.    Medical Billing Services, Inc.
    9.    Rand Medical Billing, Inc.
    10.   RMI Physician Services Corporation
    11.   Western Skies Practice Management, Inc.
    12.   Integrated Physician Solutions, Inc.
    13.   NYNM Acquisition, LLC
    14.   Northstar FHA, LLC
    15.   Northstar First Health, LLC
    16.   Vachette Business Services, Ltd.
    17.   Phoenix Health, LLC
    18.   MDRX Medical Billing, LLC
    19.   VEGA Medical Professionals, LLC
    20.   Allegiance Consulting Associates, LLC
    21.   Allegiance Billing & Consulting, LLC




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
In re:                                                          :
                                                                : Chapter 11
ORION HEALTHCORP, INC.,                                         :
                                                                : Case No. 18-_____ (___)
                    Debtor.                                     :
--------------------------------------------------------------- x

                                                    Rider 2

                   Real Property or Personal Property that Needs Immediate Attention
        Question 12, among other things, asks the debtor to identify any property that poses or is alleged
to pose a threat of imminent and identifiable hazard to public health or safety.
        The above-captioned debtor (the “Debtor”) does not believe it owns or possesses any real or
personal property that (i) poses a threat of imminent and identifiable hazard to public health or safety, (ii)
needs to be physically secured or protected from the weather, or (iii) includes perishable goods or assets
that could quickly deteriorate. The Debtor notes that it is not aware of the exact definition of “imminent
and identifiable hazard” as used in this form.




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                                       UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF NEW YORK
                                               www.nyeb.uscourts.gov

                                          STATEMENT PURSUANT TO LOCAL
                                            BANKRUPTCY RULE 1073-2(b)



DEBTOR(S): ORION HEALTHCORP, INC.                                                            CASE NO.:

         Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner’s best knowledge, information and belief:
[NOTE: Cases shall be deemed “Related Cases” for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same;
(ii) are spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership;
(v) are a partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners;
or (vii) have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is
included in the property of another estate under 11 U.S.C. § 541(a).]


   NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

   THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.:                            JUDGE:                                      DISTRICT/DIVISION:

CASE STILL PENDING: (YES/NO):                       [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:
                                                  (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES:



2. CASE NO.:                            JUDGE:                                     DISTRICT/DIVISION:

CASE STILL PENDING: (YES/NO):                       [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:
                                                  (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES:




                                                                [OVER]

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DISCLOSURE OF RELATED CASES (cont’d)


3. CASE NO.:                           JUDGE:                                          DISTRICT/DIVISION:

CASE STILL PENDING: (YES/NO):                           [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:
                                                 (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES:




NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days
may not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):               Y

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any
time, except as indicated elsewhere on this form.


/s/ Thomas R. Califano
Signature of Debtor’s Attorney                                                Signature of Pro-se Debtor/Petitioner


                                                                              Mailing Address of Debtor/Petitioner


                                                                              City, State, Zip Code


                                                                              Email Address


                                                                              Area Code and Telephone Number


Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor
or any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of
a trustee or the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may
otherwise result.




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
In re:                                                          : Chapter 11
                                                                :
ORION HEALTHCORP, INC., et al.,1                                : Case No. 18-_____ (___)
                                                                :
                    Debtor.                                     : (Joint Administration Pending)
--------------------------------------------------------------- x

               CONSOLIDATED LIST OF CREDITORS WHO HAVE THE
       SEVENTY-FIVE (75) LARGEST UNSECURED CLAIMS AND ARE NOT INSIDERS

         The above-captioned debtor and its debtor affiliates (collectively, the “Debtors”) hereby certify
that the Consolidated List of Creditors Who Have the Seventy-Five (75) Largest Unsecured Claims and
Are Not Insiders submitted herewith contains the names and addresses of the Debtors’ consolidated top
seventy-five (75) unsecured creditors (the “Top 75 List”). The list has been prepared from the Debtors’
unaudited books and records as of the Petition Date. The Top 75 List was prepared in accordance with
Rule 1007(d) of the Federal Rules of Bankruptcy Procedure for filing in the Debtors’ chapter 11 cases.
The Top 75 List does not include: (1) persons who come within the definition of an “insider” set forth in
11 U.S.C. § 101(31); or (2) secured creditors. The information presented in the Top 75 List shall not
constitute an admission by, nor is it binding on, the Debtors. Moreover, nothing herein shall affect the
Debtors’ right to challenge the amount or characterization of any claim at a later date. The failure of the
Debtors to list a claim as contingent, unliquidated or disputed does not constitute a waiver of the Debtors’
right to contest the validity, priority, and/or amount of any such claim. The Debtors are comprised of
twenty-one (21) affiliated companies. There are over 3,200 creditors and parties in interest in these cases,
and there may be potential for confusion and/or overlap regarding creditor obligations. Given the
circumstances, the Debtors submit that it is appropriate for them to file a consolidated list of their
seventy-five (75) largest unsecured creditors.




1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown); Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141). The corporate headquarters and the mailing
address for the Debtors listed above is 1715 Route 35 North, Suite 303, Middletown, NJ 07748.




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      Fill in this information to Identify the case:

      Debtor Name: Orion Healthcorp, Inc., et al.
                                                                                                                                         Check if this is an
      United States Bankruptcy Court for the: Eastern District of New York                                                               amended filing
      Case Number (If known):       18-_____




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 75
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 75 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 75 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                          professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                          services, and         or disputed     setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if       Deduction          Unsecured
                                                                                                                partially secured     for value of       claim
                                                                                                                                      collateral or
                                                                                                                                      setoff

  1       WINSTON & STRAWN LLP                 CONTACT: CHRIS             TRANSACTION-               D                                                      $3,000,000.00
          35 W. WACKER DRIVE                   ZOCHOWSKI                  RELATED
          CHICAGO, IL 60601-9703               PHONE: 1-312-558-5600
                                               CZochowski@winston.com
  2       GSS INFOTECH                         CONTACT: BHARGAV           LITIGATION CLAIM          D,U                                                     $2,700,000.00
          2050, BRUNSWICK PLAZA - 1            MAREPALLY
          STATE HIGHWAY 27                     PHONE: 1-732-798-3101
          SUITE 201                            FAX: 512.266.8803
          NORTH BRUNSWICK, NJ 08902
  3       THE BANK OF NEW YORK                                            PROMISSORY NOTE            D                                                      $1,942,111.77
          NOMINEES LIMITED
          ONE PICCADILLY GARDENS
          MANCHESTER M1 1RN ENGLAND
  4       FOREST NOMINEES LIMITED                                         PROMISSORY NOTE            D                                                      $1,234,745.00
          P.O. BOX 328
          ST PETER PORT
          GUERNSEY GY1 3TY CHANNEL
          ISLANDS
  5       HAREWOOD NOMINEES LIMITED                                       PROMISSORY NOTE            D                                                      $1,133,357.02
          10 HAREWOOD AVENUE
          LONDON NW1 6AA ENGLAND
  6       HSBC GLOBAL CUSTODY NOMINEE                                     PROMISSORY NOTE            D                                                      $1,035,078.37
          UK LIMITED
          8 CANADA SQUARE
          LONDON E14 5HQ ENGLAND




Official Form 204         Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 75 Largest Unsecured Claims                                    Page 1
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  Debtor: Orion Healthcorp, Inc., et al.                                                      Case Number (if known): 18-_____01
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if       Deduction          Unsecured
                                                                                                            partially secured     for value of       claim
                                                                                                                                  collateral or
                                                                                                                                  setoff

  7     PLATFORM SECURITIES NOMINEES       PHONE: 44 12 1233 0336     PROMISSORY NOTE            D                                                        $912,654.79
        LIMITED                            FAX: 44 12 1605 0909
        CANTERBURY HOUSE
        85 NEWHALL STREET
        BIRMINGHAM B3 1LH ENGLAND
  8     AMERICAN EXPRESS TRAVEL            CONTACT: RAQUEL            LITIGATION                D,U                                                       $855,502.85
        RELATED SERVICES COMPANY, INC.     HERNANDEZ, ASSISTANT
        200 VESEY STREET                   CUSTODIAN
        NEW YORK, NY 10285                 PHONE: 212-640-5130
                                           FAX: 212-640-0404
  9     HSBC GLOBAL CUSTODY NOMINEE                                   PROMISSORY NOTE            D                                                        $813,345.00
        UK LIMITED
        8 CANADA SQUARE
        LONDON E14 5HQ ENGLAND
  10    NORTRUST NOMINEES LIMITED          PHONE: 44-2079822000       PROMISSORY NOTE            D                                                        $637,037.26
        50 BANK STREET
        CANARY WHARF
        LONDON E14 5NT ENGLAND
  11    JIM NOMINEES LIMITED                                          PROMISSORY NOTE            D                                                        $632,177.40
        78 MOUNT EPHRAIM
        TUNBRIDGE WELLS
        KENT TN4 8BS ENGLAND
  12    MORGAN STANLEY CLIENT                                         PROMISSORY NOTE            D                                                        $535,841.49
        SECURITIES NOMINEES LIMITED
        25 CABOT SQUARE
        CANARY WHARF
        LONDON E14 4QA ENGLAND
  13    STEEL VALLEY EMERGENCY             CONTACT: TOM DANNIBALLE LITIGATION CLAIM             D,U                                                       $500,000.00
        PHYSICIANS, LLC                    PHONE: 1-740-264-7173
        2720 SUNSET BLVD                   jhazlewood@reedsmith.com
        STEUBENVILLE, OH 43952


  14    ROBINSON BROG LEINWAND             CONTACT: ADAM GREENE       PROFESSIONAL              D,U                                                       $475,000.00
        GREENE GENOVESE AND GLUCK PC       PHONE: 1-212-603-6355      SERVICES
        875 THIRD AVENUE                   ajg@robinsonbrog.com
        9TH FLOOR
        NEW YORK, NY 10022
  15    BNY OCS NOMINEES LIMITED                                      PROMISSORY NOTE            D                                                        $450,732.02
        ONE PICCADILLY GARDENS
        MANCHESTER M1 1RN UNITED
        KINGDOM
  16    NORTRUST NOMINEES LIMITED                                     PROMISSORY NOTE            D                                                        $424,916.11
        50 BANK STREET
        CANARY WHARF
        LONDON E14 5NT UNITED
        KINGDOM
  17    KOLB RADIOLOGY, PC                 CONTACT: DR. THOMAS        LITIGATION CLAIM          D,U                                                       $375,000.00
        635 MADISON AVE                    KOLB, MD
        NEW YORK, NY 10022                 PHONE: 1-212-602-1168
                                           tkolbmd@yahoo.com




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 75 Largest Unsecured Claims                                   Page 2
                      Case 8-18-71748-ast               Doc 1        Filed 03/16/18           Entered 03/16/18 21:27:52


  Debtor: Orion Healthcorp, Inc., et al.                                                      Case Number (if known): 18-_____01
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if       Deduction          Unsecured
                                                                                                            partially secured     for value of       claim
                                                                                                                                  collateral or
                                                                                                                                  setoff

  18    CREDIT SUISSE CLIENT NOMINEES                                 PROMISSORY NOTE            D                                                        $367,650.00
        UK LIMITED
        ONE CABOT SQUARE
        CANARY WHARF
        LONDON E14 4QJ UNITED
        KINGDOM
  19    THE BANK OF NEW YORK                                          PROMISSORY NOTE            D                                                        $335,676.49
        NOMINEES LIMITED
        ONE PICCADILLY GARDENS
        MANCHESTER M1 1RN UNITED
        KINGDOM
  20    GOLDMAN SACHS INTERNATIONAL        PHONE: 44 2077 741000      PROMISSORY NOTE            D                                                        $319,576.86
        PO BOX 62663
        PETERBOROUGH COURT
        133 FLEET STREET
        LONDON EC4P 4AY UNITED
        KINGDOM
  21    LEXINGTON LANDMARK SERVICES        CONTACT: DAVID M.          PROMISSORY NOTE            D                                                        $301,000.00
        LLC                                BLUMENTHAL
        CO ROBINSON BROG LEINWAND          PHONE: 212 603-0497
        GREEN                              zb@robinsonbrog.com
        GENOVESE AND GLUCK PC
        875 THIRD AVENUE, 9TH FLOOR
        NEW YORK, NY 10022
  22    FINNCAP                            CONTACT: STUART ANDREWS TRANSACTION                   D                                                        $299,594.04
        60 NEW BROAD STREET                PHONE: 020 7220 0565    RELATED
        LONDON EC2M 1JJ UNITED             sandrews@finncap.com
        KINGDOM
  23    PERSHING NOMINEES LIMITED                                     PROMISSORY NOTE            D                                                        $299,476.51
        THE ROYAL LIVER BUILDING
        PIER HEAD
        LIVERPOOL L3 1LL UNITED
        KINGDOM
  24    CHASE NOMINEES LIMITED             PHONE: 44 20 7777 2000     PROMISSORY NOTE            D                                                        $287,665.27
        PO BOX 7732
        1 CHASESIDE
        BOURNEMOUTH BH1 9XA UNITED
        KINGDOM
  25    ROOKMINEE SINGH-NARAYAN            CONTACT: ROOKMINEE         LITIGATION CLAIM          D,U                                                       $250,000.00
        JAIRAJ YAMRAJTHANK                 SINGH-NARAYAN JAIRAJ
        9317 207TH ST                      YAMRAJTHANK
        2295 LANCASTER AVE, BALDWIN, NY    FAX: 718-740-2000
        11510                              legal@abdulhassan.com
        QUEENS VILLAGE, NY 11428
  26    1805 OLD ALABAMA V ORION                                      LITIGATION CLAIM                                                                    $227,473.59
        1805 OLD ALABAMA ROAD
        ROSWELL, GA 30076
  27    YOUNG CONAWAY                      CONTACT: JAMES L PATTON    TRANSACTION-               D                                                        $225,000.00
        RODNEY SQUARE                      FAX: 302.571.1253          RELATED
        1000 NORTH KING ST                 jpatton@ycst.com
        WILMINGTON, DE 19801




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 75 Largest Unsecured Claims                                   Page 3
                      Case 8-18-71748-ast                Doc 1           Filed 03/16/18           Entered 03/16/18 21:27:52


  Debtor: Orion Healthcorp, Inc., et al.                                                          Case Number (if known): 18-_____01
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   address, including zip code             and email address of           (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact               debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                          professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                          services, and         or disputed     setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if       Deduction          Unsecured
                                                                                                                partially secured     for value of       claim
                                                                                                                                      collateral or
                                                                                                                                      setoff

  28    SKANDINAVISKA ENSKILDA BANKEN      CONTACT: MARK LUSCOMBE         PROMISSORY NOTE            D                                                        $172,000.00
        AB PUBL                            PHONE: 44 20 72464000
        CO BNP PARIBAS SECURITIES          mark.luscombe@seb.co.uk
        SERVICES
        55 MOORGATE
        4TH FLOOR
        LONDON EC2R 6PA UNITED
        KINGDOM
  29    NORTRUST NOMINEES LIMITED                                         PROMISSORY NOTE            D                                                        $153,832.50
        50 BANK STREET
        CANARY WHARF
        LONDON E14 5NT UNITED
        KINGDOM
  30    PARKERSBURG RADIOLOGY              CONTACT: MIKE HENSLEY          LITIGATION CLAIM          D,U                                                       $150,000.00
        SERVICES, INC.                     PHONE: 1-270-793-2027
        PO BOX 779
        PARKERSBURG, WV 26102
  31    BREWIN NOMINEES LIMITED                                           PROMISSORY NOTE            D                                                        $141,900.00
        PO BOX 1025
        TIME CENTRAL
        GALLOWGATE
        NEWCASTLE UPON TYNE NE99 1SX
        UNITED KINGDOM
  32    ALLIANCE HEALTH SCIENCES           PHONE: 214.420.8200            TRADE DEBT                                                                          $133,494.00
        3418 MIDCOURT RD                   FAX: 214.420.8205
        STE 118                            info@alliancediagnostics.co
        CARROLLTON, TX 75006               m
  33    N.Y. NOMINEES LIMITED                                             PROMISSORY NOTE            D                                                        $129,000.00
        PO BOX 293
        20 FARRINGDON ROAD
        LONDON EC1M 3NH UNITED
        KINGDOM
  34    ABN AMRO GLOBAL NOMINEES                                          PROMISSORY NOTE            D                                                        $118,250.00
        LIMITED
        5 ALDERMANBURY SQUARE
        LONDON EC2V 7HR UNITED
        KINGDOM
  35    GEBBS HEALTHCARE SOLUTIONS,        CONTACT: KIRAN KUMAR,          LITIGATION CLAIM          D,U                                                       $110,057.50
        INC.                               SVP CLIENT RELATIONS
        4640 ADMIRALTY WAY                 SOLUTIONS
        STE 950                            PHONE: 1-201-562-8294
        MARINA DEL RAY 90292               Kiran.Kumar@gebbs.com
  36    LAWSHARE NOMINEES LIMITED          PHONE: 1-892-523-346           PROMISSORY NOTE            D                                                        $103,313.95
        CALVERLEY HOUSE
        55 CALVERLEY ROAD
        TUNBRIDGE WELLS
        KENT TN1 2TU UNITED KINGDOM
  37    COCKERELL DERMATOPATHOLOGY,        CONTACT: BRANDA WANDER LITIGATION CLAIM                   D                                                        $100,000.00
        P.A.                               PHONE: 1-214-530-5200
        100 HIGHLAND PARK VILLAGE          info@lynnllp.com
        STE 200
        DALLAS, TX 75205




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 75 Largest Unsecured Claims                                       Page 4
                      Case 8-18-71748-ast                Doc 1        Filed 03/16/18           Entered 03/16/18 21:27:52


  Debtor: Orion Healthcorp, Inc., et al.                                                       Case Number (if known): 18-_____01
   Name of creditor and complete mailing   Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                       professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                       services, and         or disputed     setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if       Deduction          Unsecured
                                                                                                             partially secured     for value of       claim
                                                                                                                                   collateral or
                                                                                                                                   setoff

  38    STATE STREET NOMINEES LIMITED      PHONE: 44 0 131 315 2000    PROMISSORY NOTE            D                                                         $87,075.00
        525 FERRY ROAD                     FAX: 44 0 131 315 2999
        EDINBURGH EH5 2AW UNITED
        KINGDOM
  39    UBS PRIVATE BANKING NOMINEES                                   PROMISSORY NOTE            D                                                         $84,481.67
        LTD
        1 FINSBURY AVENUE
        LONDON EC2M 2AN UNITED
        KINGDOM
  40    NORTRUST NOMINEES LTD                                          PROMISSORY NOTE            D                                                         $79,629.55
        GFS CUSTODY SERVICING - EMEA
        NORTHERN TRUST
        50 BANK STREET
        LONDON E14 5NT UNITED
        KINGDOM
  41    MR MAX EDWARD ROYDE                                            PROMISSORY NOTE            D                                                         $76,785.53
        13 ELMS ROAD
        LONDON SW4 9ER UNITED
        KINGDOM
  42    PERSHING NOMINEES LIMITED                                      PROMISSORY NOTE            D                                                         $76,785.53
        THE ROYAL LIVER BUILDING
        PIER HEAD
        LIVERPOOL L3 1LL UNITED
        KINGDOM
  43    MERRILL LYNCH INTERNATIONAL        PHONE: 44-20-7628-1000      PROMISSORY NOTE            D                                                         $73,902.81
        2 KING EDWARD STREET               UKWealthManagement@ml.
        LONDON EC1A 1HQ UNITED             com
        KINGDOM
  44    RATHBONE NOMINEES LIMITED                                      PROMISSORY NOTE            D                                                         $69,574.00
        PORT OF LIVERPOOL BUILDING
        PIER HEAD
        LIVERPOOL L3 1NW UNITED
        KINGDOM
  45    PERSHING NOMINEES LIMITED                                      PROMISSORY NOTE            D                                                         $63,855.00
        THE ROYAL LIVER BUILDING
        PIER HEAD
        LIVERPOOL L3 1LL UNITED
        KINGDOM
  46    PERSHING NOMINEES LIMITED                                      PROMISSORY NOTE            D                                                         $59,458.68
        THE ROYAL LIVER BUILDING
        PIER HEAD
        LIVERPOOL L3 1LL UNITED
        KINGDOM
  47    PLATFORM SECURITIES NOMINEES                                   PROMISSORY NOTE            D                                                         $59,294.42
        LIMITED
        CANTERBURY HOUSE
        85 NEWHALL STREET
        BIRMINGHAM B3 1LH UNITED
        KINGDOM
  48    CRITERIONS, LLC                    info@criterions.com         TRADE DEBT                 D                                                         $57,090.00
        18 GENEVIEVE PLACE
        GREAT NECK, NY 11021




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 75 Largest Unsecured Claims                                    Page 5
                      Case 8-18-71748-ast               Doc 1        Filed 03/16/18           Entered 03/16/18 21:27:52


  Debtor: Orion Healthcorp, Inc., et al.                                                      Case Number (if known): 18-_____01
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if       Deduction          Unsecured
                                                                                                            partially secured     for value of       claim
                                                                                                                                  collateral or
                                                                                                                                  setoff

  49    PERSHING NOMINEES LIMITED                                     PROMISSORY NOTE            D                                                         $54,481.00
        THE ROYAL LIVER BUILDING
        PIER HEAD
        LIVERPOOL L3 1LL UNITED
        KINGDOM
  50    CHRISTINE COHEN                    CONTACT: CHRISTINE COHEN PROFESSIONAL                 D                                                         $53,143.17
        39 OCEAN AVENUE                    chriscohen55@yahoo .com  FEES
        CENTER MORICHES, NY 11934
  51    JIM NOMINEES LIMITED                                          PROMISSORY NOTE            D                                                         $47,052.75
        78 MOUNT EPHRAIM
        TUNBRIDGE WELLS
        KENT TN4 8BS
  52    CLAUDIO FERRER                     CONTACT: MARIA RITA        LITIGATION CLAIM          D,U                                                        $46,000.00
        VILES BECKMAN, LLC                 ALAIMO
        ATTN MARIA RITA ALAIMO             FAX: 877-441-9119
        6350 PRESIDENTIAL COURT
        FORT MYERS, FL 33919
  53    PLATFORM SECURITIES NOMINEES                                  PROMISSORY NOTE            D                                                         $44,298.60
        LIMITED
        CANTERBURY HOUSE
        85 NEWHALL STREET
        BIRMINGHAM B3 1LH
  54    CHASE NOMINEES LIMITED                                        PROMISSORY NOTE            D                                                         $43,715.52
        PO BOX 7732
        1 CHASESIDE
        BOURNEMOUTH BH1 9XA
  55    MCGUIREWOODS LLP                   CONTACT: GEORGE KEITH    TRANSACTION                  D                                                         $42,900.00
        800 EAST CANAL STREET              MARTIN                   RELATED
        RICHMOND, VA 23219                 gmartin@mcguirewoods.com


  56    EQUIVALENT DATA LLC.               CONTACT: MICHAEL J         TRADE DEBT                                                                           $42,500.00
        CO MANFRED STERNBERG JR            MEDRANO
        4550 POST OAK PLACE SUITE 119      FAX: 713-939-4538
        HOUSTON, TX 77027                  Solutions@eqd.com
  57    TD DIRECT INVESTING NOMINEES                                  PROMISSORY NOTE            D                                                         $37,358.83
        (EUROPE) LIMITED
        EXCHANGE COURT
        DUNCOMBE STREET
        LEEDS LS1 4AX
  58    HSBC GLOBAL CUSTODY NOMINEE                                   PROMISSORY NOTE            D                                                         $36,281.25
        (UK)
        LIMITED
        8 CANADA SQUARE
        LONDON E14 5HQ
  59    PEEL HUNT HOLDINGS LIMITED                                    PROMISSORY NOTE            D                                                         $36,140.21
        MOOR HOUSE
        120 LONDON WALL
        LONDON EC2Y 5ET
  60    STIFEL NICOLAUS EUROPE LTD         CONTACT: DAVID ARCH        TRANSACTION                D                                                         $35,819.68
        150 CHEAPSIDE                      david.arch@stifel.com      RELATED
        LONDON EC2V 6ET




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 75 Largest Unsecured Claims                                   Page 6
                      Case 8-18-71748-ast                  Doc 1     Filed 03/16/18           Entered 03/16/18 21:27:52


  Debtor: Orion Healthcorp, Inc., et al.                                                      Case Number (if known): 18-_____01
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if       Deduction          Unsecured
                                                                                                            partially secured     for value of       claim
                                                                                                                                  collateral or
                                                                                                                                  setoff

  61    STIFEL NICOLAUS EUROPE LIMITED                                PROMISSORY NOTE            D                                                         $34,744.86
        150 CHEAPSIDE
        LONDON EC2V 6ET
  62    NOMURA PB NOMINEES LIMITED                                    PROMISSORY NOTE            D                                                         $31,772.27
        1 ANGEL LANE
        LONDON EC4R 3AB
  63    TD DIRECT INVESTING NOMINEES                                  PROMISSORY NOTE            D                                                         $28,746.36
        (EUROPE) LIMITED
        EXCHANGE COURT
        DUNCOMBE STREET
        LEEDS LS1 4AX
  64    STATE STREET NOMINEES LIMITED                                 PROMISSORY NOTE            D                                                         $27,950.00
        525 FERRY ROAD
        EDINBURGH EH5 2AW
  65    HSBC CLIENT HOLDINGS NOMINEE                                  PROMISSORY NOTE            D                                                         $27,535.05
        (UK)
        LIMITED
        8 CANADA SQUARE
        LONDON E14 5HQ
  66    W B NOMINEES LIMITED                                          PROMISSORY NOTE            D                                                         $25,800.00
        ST JAMES HOUSE
        27-43 EASTERN ROAD
        ROMFORD ESSEX RM1 3NH
  67    NEW JERSEY INNOVATION              pqrs@njii.com              TRADE DEBT                                                                           $25,415.00
        INSTITUTE
        ENTERPRISE DEVELOPMENT
        CENTERS
        211 WARREN ST
        NEWARK, NJ 07103
  68    KERN CAL LAND PROPERTIES LLC.      CONTACT: ELSIE SALVUCCI    RENT                                                                                 $24,747.80
        PO BOX 299
        SIMI VALLEY, CA 93062
  69    AGE                                                           TRADE DEBT                                                                           $21,677.87
        16625 REDMOND WAY M475
        REDMOND, WA 98052
  70    VICTOIRE NOMINEES LIMITED                                     PROMISSORY NOTE            D                                                         $21,217.49
        10 HAREWOOD AVENUE
        LONDON NW1 6AA
  71    PERSHING NOMINEES LIMITED                                     PROMISSORY NOTE            D                                                         $19,402.46
        THE ROYAL LIVER BUILDING
        PIER HEAD
        LIVERPOOL L3 1LL
  72    HOUSTON TEXAS WESTCHASE III        CONTACT: ROBERT O.       RENT                                                                                   $18,588.62
        PROPERTIES                         CROMWELL II
        CO MOODY RAMBIN INTEREST           bcromwell@moodyrambinint
        1455 WEST LOOP SOUTH SUITE 700     .com
        HOUSTON, TX 77027
  73    CDW GOVERNMENT, INC. 1515          FAX: 847-419-6200          TRADE DEBT                                                                           $17,358.12
        75 REMITTANCE DR
        SUITE 1515
        CHICAGO, IL 60675-1515




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 75 Largest Unsecured Claims                                   Page 7
                      Case 8-18-71748-ast               Doc 1        Filed 03/16/18           Entered 03/16/18 21:27:52


  Debtor: Orion Healthcorp, Inc., et al.                                                      Case Number (if known): 18-_____01
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if       Deduction          Unsecured
                                                                                                            partially secured     for value of       claim
                                                                                                                                  collateral or
                                                                                                                                  setoff

  74    BARCLAYSHARE NOMINEES LIMITED                                 PROMISSORY NOTE            D                                                         $16,261.74
        1 CHURCHILL PLACE
        LONDON E14 5HP


  75    LAWSHARE NOMINEES LIMITED                                     PROMISSORY NOTE            D                                                         $14,648.81
        CALVERLEY HOUSE
        55 CALVERLEY ROAD
        TUNBRIDGE WELLS
        KENT TN1 2TU




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 75 Largest Unsecured Claims                                   Page 8
          Case 8-18-71748-ast                     Doc 1          Filed 03/16/18            Entered 03/16/18 21:27:52


Fill in this information to identify the case and this filing:


Debtor Name Orion Healthcorp, Inc., et al.

United States Bankruptcy Court for the: Eastern District of New York
                                                  (State)

Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


                  Declaration and signature

              I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
              partnership; or another individual serving as a representative of the debtor in this case.

              I have examined the information in the documents checked below and I have a reasonable belief that the information is true
              and correct:

              ☐           Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


              ☐           Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


              ☐           Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


              ☐           Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


              ☐           Schedule H: Codebtors (Official Form 206H)


              ☐           Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


              ☐           Amended Schedule


              ☒           Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the Seventy-Five (75) Largest
                          Unsecured Claims and Are Not Insiders (Official Form 204). Presented on a Consolidated Basis.


              ☐          Other document that requires a declaration


I declare under penalty of perjury that the foregoing is true and correct.

Executed on       03/16/2018
                  MM / DD / YYYY                   /s/ Timothy J. Dragelin
                                                   Signature of individual signing on behalf of debtor

                                                   Timothy J. Dragelin
                                                   Printed name

                                                   Chief Restructuring Officer
                                                   Position or relationship to debtor




EAST\152032199.2
        Case 8-18-71748-ast            Doc 1      Filed 03/16/18       Entered 03/16/18 21:27:52




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
In re:                                                          : Chapter 11
                                                                :
ORION HEALTHCORP, INC.,                                         : Case No. 18-_____ (___)
                                                                :
                    Debtor.                                     :
--------------------------------------------------------------- x

                                CORPORATE OWNERSHIP AND
                    E.D.N.Y. LOCAL BANKRUPTCY RULE 1073-3 STATEMENT

        Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, and Rule

1073-3 of the Local Bankruptcy Rules for the Eastern District of New York, the undersigned authorized

officer of the Debtor certifies that the following corporate entities or individuals, other than a

governmental unit, directly or indirectly own 10% or more of any class of the Debtor’s equity interest.

                            Shareholder                                 Percentage Ownership Interest
    Constellation Healthcare Technologies, Inc.
    One Arin Park
                                                                                       100%
    1735 Route 35 North, Suite 303
    Middletown, NJ 07748




EAST\152032199.2
             Case 8-18-71748-ast                                 Doc 1       Filed 03/16/18              Entered 03/16/18 21:27:52



Fill in this information to identify the case and this filing:



Debtor Name Orion Healthcorp, Inc.

United States Bankruptcy Court for the: Eastern District of New York
                                                  (State)

Case number (If known):



Official Form 202

Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                      12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


                       Declaration and signature

                   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
                   partnership; or another individual serving as a representative of the debtor in this case.

                   I have examined the information in the documents checked below and I have a reasonable belief that the information is true
                   and correct:


                   ☐              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                   ☐              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                   ☐              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                   ☐              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                   ☐              Schedule H: Codebtors (Official Form 206H)


                   ☐              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                   ☐               Amended Schedule


                   ☐              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                                  (Official Form 204)


                   ☒              Other document that requires a declaration Statement of Corporate Ownership

I declare under penalty of perjury that the foregoing is true and correct.

Executed on            03/16/2018                                /s/ Timothy J. Dragelin
                       MM / DD / YYYY                            Signature of individual signing on behalf of debtor

                                                                 Timothy J. Dragelin
                                                                 Printed name

                                                                 Chief Restructuring Officer
                                                                 Position or relationship to debtor




EAST\152032199.2
        Case 8-18-71748-ast            Doc 1      Filed 03/16/18       Entered 03/16/18 21:27:52




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
In re:                                                          :
                                                                : Chapter 11
ORION HEALTHCORP, INC.,                                         :
                                                                : Case No. 18-_____ (___)
                    Debtor.                                     :
--------------------------------------------------------------- x

                                LIST OF EQUITY SECURITY HOLDERS

        Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(3), the above-captioned debtor hereby

provides the following list of holders of equity interests:


               Name and Address of Interest Holder                             Percentage of Interests Held
Constellation Healthcare Technologies, Inc.
One Arin Park
                                                                                            100%
1735 Route 35 North, Suite 303
Middletown, NJ 07748




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Fill in this information to identify the case and this filing:



Debtor Name Orion Healthcorp, Inc.

United States Bankruptcy Court for the: Eastern District of New York
                                                  (State)

Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                      12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


                       Declaration and signature

                   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
                   partnership; or another individual serving as a representative of the debtor in this case.

                   I have examined the information in the documents checked below and I have a reasonable belief that the information is true
                   and correct:


                   ☐              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                   ☐              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                   ☐              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                   ☐              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                   ☐              Schedule H: Codebtors (Official Form 206H)


                   ☐              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                   ☐               Amended Schedule


                   ☐              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                                  (Official Form 204).


                   ☒              Other document that requires a declaration List of Equity Security Holders

I declare under penalty of perjury that the foregoing is true and correct.

Executed on            03/16/2018                                /s/ Timothy J. Dragelin
                       MM / DD / YYYY                            Signature of individual signing on behalf of debtor

                                                                 Timothy J. Dragelin
                                                                 Printed name

                                                                 Chief Restructuring Officer
                                                                 Position or relationship to debtor




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                      [OMNIBUS RESOLUTION PLACEHOLDER]




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                 OMNIBUS JOINT WRITTEN CONSENT
  OF THE BOARDS OF DIRECTORS, SOLE STOCKHOLDERS, SOLE MANAGERS
               AND SOLE MEMBERS, AS APPLICABLE, OF
          CONSTELLATION HEALTHCARE TECHNOLOGIES, INC.
      AND EACH OF ITS SUBSIDIARIES LISTED ON EXHIBIT A HERETO

                                         March 16, 2018

        Each of the undersigned, being all of the members of the board of directors, the sole
stockholder, the sole manager or the sole member (each, an “Authorized Governing Body” and
collectively, the “Authorized Governing Bodies”) of the applicable entity or entities listed on
Exhibit A hereto (each a “Company” and collectively, the “Companies”), pursuant to the
applicable laws of the jurisdiction of organization of each Company and the applicable
provisions of the organizational documents of each Company, does hereby consent to the
following actions, adopt the following resolutions by written consent in lieu of a meeting and
agree that said resolutions shall have the same force and effect as if duly adopted at a meeting of
the Authorized Governing Body of each Company held for that purpose:

       WHEREAS, the Authorized Governing Bodies considered the financial and operational
conditions of the Companies’ businesses;

        WHEREAS, the Authorized Governing Bodies reviewed the historical performance of
the Companies, the market for the Companies’ products and services, and the current and long-
term liabilities of the Companies;

        WHEREAS, the Authorized Governing Bodies reviewed, considered, and received the
recommendations of the senior management of the Companies and the advice of the Companies’
professionals and advisors with respect to potential avenues for relief that are available to the
Authorized Governing Bodies, upon behalf of the Companies, including the possibility of
pursuing a restructuring of the Companies’ business and assets under chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”);
        WHEREAS, in order to maintain independence and flexibility in analyzing and
investigating various restructuring alternatives, the Authorized Governing Bodies of each of the
Companies that are corporations (the “Corporations”) desire to set up a special committee of
such Authorized Governing Bodies comprised only of one or more disinterested and independent
directors (the “Special Committee”) to investigate, analyze and negotiate such restructuring
alternatives as the Special Committee deems appropriate and in the best interests of each of the
Corporations, their creditors, equity holders, and other interested parties, as may be appropriate
under applicable law; and

       WHEREAS, the Authorized Governing Bodies of each of the Corporations have
determined that Robert J. Rosenberg qualifies as a disinterested and independent director for
purposes of serving on the Special Committee.

       NOW, THEREFORE BE IT RESOLVED, that, the Authorized Governing Bodies of
each of the Corporations hereby (i) establishes the Special Committee, (ii) sets the number of

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directors to comprise the Special Committee at one (1) director, (iii) appoints Robert J.
Rosenberg to serve as the sole member of the Special Committee; and (iv) and authorizes and
empowers the Special Committee to have the full power and authority of the Board for the
purposes of the following resolutions; and it is

        FURTHER RESOLVED, that, in the business judgment of Special Committee and each
of the Authorized Governing Bodies of each of the Companies that are not corporations
(collectively, with the Special Committee of each of the Corporations, the “Acting Governing
Bodies”), after consideration of the alternatives presented to Acting Governing Bodies and the
recommendations of senior management of the Companies and the advice of the Companies’
professionals and advisors that, at this time under the relevant circumstances, it is desirable and
in the best interests of the Companies, their creditors, equity holders, and other interested parties
(as such consideration may be appropriate under applicable law) for voluntary petitions to be
filed by the Companies under the provisions of chapter 11 of the Bankruptcy Code; and it is

        FURTHER RESOLVED, that the Companies’ petitions seeking relief under the
provisions of chapter 11 of the Bankruptcy Code (the “Petitions”) are approved in all respects
and that Timothy J. Dragelin, Chief Restructuring Officer of all of the Companies and Chief
Executive Officer of certain of the Companies and the other officers of the Companies
(collectively, the “Authorized Persons”) be, and hereby are, authorized and directed, on behalf of
and in the name of the Companies, to execute the Petitions or authorize the execution of the
Petitions and to cause the same to be filed with the United States Bankruptcy Court for the
Eastern District of New York, at such time as the Authorized Persons deem appropriate, in order
to commence cases under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11
Cases”); and it is

        FURTHER RESOLVED, that the Authorized Persons be, and hereby are, authorized to
execute a senior secured super-priority debtor-in-possession credit agreement (the “DIP Credit
Agreement”) and all notes, security agreements, financing statements, certificates, consents, and
other documents, agreements, and instruments related thereto, with such additions, deletions, or
modifications as the Authorized Persons may approve, and to take any and all actions which they
may deem necessary or proper in order to consummate the DIP Credit Agreement and the
transactions set forth therein; and it is

        FURTHER RESOLVED, that the Authorized Persons be, and hereby are, authorized to
execute and file all petitions, schedules, lists, and other papers and to take any and all actions
which they may deem necessary or proper in connection with the prosecution of the Chapter 11
Cases and, in that connection, for the Authorized Persons to retain and employ all assistance, by
legal counsel or otherwise, which they may deem necessary or proper in order to successfully
prosecute the Chapter 11 Cases; and it is

       FURTHER RESOLVED, that the Authorized Persons be, and hereby are, authorized
and directed to retain on behalf of the Companies, upon such terms and conditions as the
Authorized Persons shall approve, the following to represent the Companies in connection with
the Chapter 11 Cases –
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    •    DLA Piper LLP (US), to render legal services to and to serve as bankruptcy counsel for
         the Companies;

    •    FTI Consulting, Inc., to provide the Companies a chief restructuring officer and certain
         additional personnel and to designate Timothy J. Dragelin as Chief Restructuring Officer;
         and

    •    Epiq Bankruptcy Solutions, LLC to serve as claims and noticing agent for the
         Companies; and it is

        FURTHER RESOLVED, that the Authorized Persons be, and hereby are, authorized to
retain on behalf of the Companies other attorneys, investment bankers, accountants, restructuring
professionals, financial advisors, and other professionals, upon such terms and conditions as the
Authorized Persons shall approve, to render services to the Companies in connection with the
Chapter 11 Cases or any related insolvency proceeding; and it is

       FURTHER RESOLVED, that all acts lawfully done or actions lawfully taken by any
Authorized Person to file the Petitions or with respect to the Chapter 11 Cases, any related
insolvency proceeding, or in any matter related thereto, or by virtue of these resolutions be, and
hereby are, in all respects ratified, confirmed, and approved; and it is

        FURTHER RESOLVED, that the Authorized Persons be, and hereby are, authorized
and directed, in the name of and on behalf of the Companies, to take or cause to be taken any
and all such further action and to execute and deliver or cause to be executed or delivered all
such further agreements, documents, certificates, and undertakings and to incur all such fees
and expenses as in their judgment shall be necessary, appropriate, or advisable to effectuate the
purpose and intent of any and all of the foregoing resolutions.
                                    [Signature Pages Follow]




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                                                                 EXHIBIT A
                                                                  Companies


                         Company                              Applicable Law                  Section of Governing Document
1.      Constellation Healthcare Technologies, Inc.    Section 141(f) of the Delaware   Article 2 Section 2.8 of the Amended and
                                                       General Corporation Law          Restated By-laws of Constellation Healthcare
                                                                                        Technologies, Inc.

2.      Orion Healthcorp, Inc.                         Section 141(f) of the Delaware   Article III, Section 3.16 of the Amended and
                                                       General Corporation Law          Restated By-laws of Orion Healthcorp, Inc.

3.      NEMS Acquisition, LLC                          Section 18-404 of the Delaware   Article (IV)(a)(i) of the Operating Agreement
                                                       Limited Liability Company Act,   of NEMS Acquisition, LLC
                                                       6 Del. C. § 18-101 et seq.
4.      Northeast Medical Solutions, LLC               Section 8942 of the              Article (IV)(a)(i) of the Amended and Restated
                                                       Pennsylvania Limited Liability   Operating Agreement of Northeast Medical
                                                       Company Act of 1994              Solutions, LLC

5.      NEMS West Virginia, LLC                        Section 8942 of the              Article (IV)(a)(i) of the Amended and Restated
                                                       Pennsylvania Limited Liability   Operating Agreement of NEMS West Virginia,
                                                       Company Act of 1994              LLC

6.      Physicians Practice Plus Holdings, LLC         Section 18-404 of the Delaware   Article (IV)(a)(i) of the Operating Agreement
                                                       Limited Liability Company Act,   of Physicians Practice Plus Holdings, LLC
                                                       6 Del. C. § 18-101 et seq.
7.      Physicians Practice Plus, LLC                  Section 18-404 of the Delaware   Article (IV)(a)(i) of the Operating Agreement
                                                       Limited Liability Company Act,   of Physicians Practice Plus, LLC
                                                       6 Del. C. § 18-101 et seq.
8.      Medical Billing Services, Inc.                 Section 6.201 of the Texas       Article III, Section 3.16 of the Amended and
                                                       Business Organizations Code      Restated By-laws of Medical Billing Services,
                                                                                        Inc.


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                        Company                             Applicable Law                   Section of Governing Document
9.      Rand Medical Billing, Inc.                  Section 307(b) of the California   Article III, Section 3.16 of the Amended and
                                                    Corporations Code                  Restated By-laws of Rand Medical Billing, Inc.

10. RMI Physician Services Corporation              Section 6.201 of the Texas         Article III, Section 3.16 of the Amended and
                                                    Business Organizations Code        Restated By-laws of RMI Physician Services
                                                                                       Corporation

11. Western Skies Practice Management, Inc.         Section 7-108-202 of               Article III, Section 3.16 of the Amended and
                                                    the Colorado Revised Statutes      Restated By-laws of Western Skies Practice
                                                                                       Management, Inc.

12. Integrated Physician Solutions, Inc.            Section 141(f) of the Delaware     Article III, Section 3.16 of the Amended and
                                                    General Corporation Law            Restated By-laws of Integrated Physician
                                                                                       Solutions, Inc.

13. NYNM Acquisition, LLC                           Section 18-404 of the Delaware     Article (IV)(a)(i) of the Operating Agreement
                                                    Limited Liability Company Act,     of NYNM Acquisition, LLC
                                                    6 Del. C. § 18-101 et seq.
14. Northstar FHA, LLC                              Section 18-404 of the Delaware     Article (IV)(a)(i) of the Operating Agreement
                                                    Limited Liability Company Act,     of Northstar FHA, LLC
                                                    6 Del. C. § 18-101 et seq.
15. Northstar First Health, LLC                     Section 18-404 of the Delaware     Article (IV)(a)(i) of the Amended and Restated
                                                    Limited Liability Company Act,     Operating Agreement of Northstar First Health,
                                                    6 Del. C. § 18-101 et seq.         LLC

16. Vachette Business Services, Ltd.                Chapter 1705 of the Ohio           Article 3 Section 3.3 of the Amended and
                                                    Revised Code                       Restated Operating Agreement of Vachette
                                                                                       Business Services, Ltd.

17. Phoenix Health, LLC                             Section 18-404 of the Delaware     Article (IV)(a)(i) of the Operating Agreement
                                                    Limited Liability Company Act,     of Phoenix Health, LLC
                                                    6 Del. C. § 18-101 et seq.


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                     Company                          Applicable Law                  Section of Governing Document
18. MDRX Medical Billing, LLC                  Section 18-404 of the Delaware   Article (IV)(a)(i) of the Operating Agreement
                                               Limited Liability Company Act,   of MDRX Medical Billing, LLC
                                               6 Del. C. § 18-101 et seq.
19. VEGA Medical Professionals, LLC            Section 18-404 of the Delaware   Article (IV)(a)(i) of the Operating Agreement
                                               Limited Liability Company Act,   of VEGA Medical Professionals, LLC
                                               6 Del. C. § 18-101 et seq.
20. Allegiance Consulting Associates, LLC      Section 407 of the New York      Article (IV)(a)(i) of the Amended and Restated
                                               Limited Liability Company Law    Operating Agreement of Allegiance Consulting
                                                                                Associates, LLC

21. Allegiance Billing & Consulting, LLC       Section 407 of the New York      Article (IV)(a)(i) of the Operating Agreement
                                               Limited Liability Company Law    of Allegiance Billing & Consulting, LLC




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